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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

 CORECO JA’QAN PEARSON, et al.,                )
                                               )
       Plaintiffs,                             )
                                               ) CIVIL ACTION NO.
 v.                                            ) 1:20-cv-4809-TCB
                                               )
 BRIAN KEMP, et al.,                           )
                                               )
       Defendants.                             )

  STATE DEFENDANTS’ NOTICE OF PROTECTIVE CROSS-APPEAL

      Defendants Governor Brian Kemp, Secretary of State Brad Raffensperger,

and State Election Board Members Rebecca Sullivan, David Worley, Matthew

Mashburn, and Anh Le (collectively, “State Defendants”) hereby give notice of their

protective cross-appeal to the U.S. Court of Appeals for the Eleventh Circuit of the

District Court’s Temporary Restraining Order entered on November 29, 2020

(“TRO Order”), which granted in part and denied in part Plaintiffs’ requested

emergency relief. (Doc. 14).

      Plaintiffs filed a notice of appeal of the TRO Order on December 1, 2020.

(Doc. 32). It is State Defendants’ position that the Court of Appeals lacks jurisdiction

to review the TRO Order under 28 U.S.C. 1292(a), as the District Court has noted.

(Doc. 37) (“[T]his Court is of the opinion that its November 29 order is not within

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the scope of Schiavo [ex rel. Schindler v. Schiavo]’s exception to the unappealable

nature of a temporary restraining order.”). However, in the event that the Court of

Appeals determines otherwise, the Court of Appeals should address the cross-appeal,

which will argue that the partial TRO should be reversed and vacated.

      Respectfully submitted, this 3d day of December, 2020.


                                      /s/ Charlene S. McGowan
                                      CHARLENE S. MCGOWAN 697316
                                      Assistant Attorney General

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                                      Atlanta, GA 30334
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                                      Counsel for State Defendants




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                     CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing has been formatted using Times New

Roman font in 14-point type in compliance with Local Rule 7.1(D).

                                     /s/Charlene S. McGowan
                                     Charlene S. McGowan
                                     Assistant Attorney General




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                          CERTIFICATE OF SERVICE

      I hereby certify that I have this day electronically filed the foregoing NOTICE

OF PROTECTIVE CROSS-APPEAL with the Clerk of Court using the CM/ECF

system, which will send notification of such filing to counsel for the parties of record

via electronic notification.

      Dated: December 3, 2020.

                                        /s/ Charlene S. McGowan
                                        Charlene S. McGowan
                                        Assistant Attorney General




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